PROB. 1 2

 

 

 

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UNITED STATES DISTRICT COURT
for FIi.EU iii".*' % 001
wEsTERN nlsTRIcT 0F TENNESSEE 05 i"”ii 3 3 PH 2= 23
U, S. A. vs. Sheree McKinley ILt_:_l_c_et No. 2=94€1120;£]`§;°§; ' :1 3

 

Petition on Probation and Supervised Release

COMES NOW Nicole D. Peterson PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Sheree McKinley who was placed on supervision by the Honorable Ju.lia Smith
Gibbons sitting in the Court at Memphis, TN on the __§_"‘_ day of March 1996 who fixed the period of supervision at M
121 years* , and imposed the general terms and conditions theretofore adopted by the Court and also imposed special conditions
and terms as follows:

 

 

(i) The defendant shall submit to drug and alcohol treatment and counseling as deemed appropriate by the Probation
Office.

* ”l`erm of Supervised Release began January 23, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(Il' short insert here; if lengthy write on separate sheet and attaeh)

Pursuant to a Petition on Supervised Release Violation submitted on March 10, 2005, Sheree McKinley appeared before United
States District Judge .l. Daniel Breen for a final revocation hearing on April 26, 2005. Judge Breen ordered that Ms. McKinley’s
Supervised Release be revoked and that she be committed to the custody of the Unitecl States Bureau of Prisons to be imprisoned
for a period of twelve (I 2) months. The Court then directed the BOP to defer Ms. McKinley’s report date for sixty (60) days.
lt should be noted that Your Honor informed Ms. McKinley that her bond would be revoked if she tested positive for illicit
substances on one more occasion

Sheree McKinley has failed to comply with bond supervision in that she has failed to maintain contact as required, failed to
report for screening as directed and she tested positive for the use of Cocaine on May 5, 2005 .

PRA¥ING THAT THE COURT WILL ORDER that a WARRANT be issued for SHEREE MCKINLEY so that she can
appear before the United States District Court to answer to charges of violation of bond supervision

BOND: i §g~i.__

ORDER OF COURT l declare under penalty of perjury that the
Foregoing is true and correct.
Considered and orde;ed this 2 f§ay Executed
of , 20 et , and ordere Hled on MM“ ,ZO_, J»£>QS"

 

  
   

U. S. Probation 0flicer

 

Unite@es District Judge \` Place: Memphis` TN

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..: §-`l:_ne si amfch 32(b) FHGFP on 532-563

UNITED STEATS DSTIRICT COURT - WESTRNE DISITRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 206 in
case 2:94-CR-20276 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Christopher E. Cotten

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Honorable J. Breen
US DISTRICT COURT

